                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :      Case No: 21-cr-68 (TNM)
                                            :
                                            :
                                            :      18 U.S.C. § 1752(a)(1)
                                            :
         v.                                 :
                                            :
 JENNY CUDD,                                :
                                            :
         Defendant.                         :
                                            :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Jenny Cudd, with the concurrence of her attorney, agree and stipulate to the below factual basis

for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.




                                                   1
        3.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;



                                            Page 2 of 7
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                   Cudd’s Participation in the January 6, 2021, Capitol Riot

       8.      Jenny Cudd traveled from Texas to Washington, D.C. to participate in “Stop the

Steal” rallies or protests and to connect with other “Patriots.” Ms. Cudd understood that on

January 6, 2021, in Washington, D.C. at the United States Capitol, elected members of the

United States House of Representatives and the United States Senate were meeting to certify the

vote count of the Electoral College of the 2020 Presidential Election, which had taken place on

November 3, 2020.




                                            Page 3 of 7
        9.      On January 5, 2021, Ms. Cudd stated the following in a video on social media: “a

lot of . . . the speakers this evening were calling for a revolution. Now I don’t know what y’all

think about a revolution, but I’m all for it. . . . Nobody actually wants war, nobody wants

bloodshed, but the government works for us and unfortunately it appears that they have forgotten

that, quite a lot. So, if a revolution is what it takes then so be it. Um, I don’t know if that is

going to kick off tomorrow or not, we shall see what the powers that be choose to do with their

powers and we shall see what it is that happens in Congress tomorrow at our United States

Capitol. So, um either way I think that either our side or the other side is going to start a

revolution.”

        10.     On January 6, 2021, prior to 2:35 p.m., Jenny Cudd and her co-defendant Eliel

Rosa approached the United States Capitol from the West.

        11.     At approximately 2:35 p.m., Jenny Cudd and Eliel Rosa walked into the U.S.

Capitol through the Upper West Terrace Door. At approximately 2:36 p.m., Jenny Cudd and

Eliel Rosa entered the Rotunda of the U.S. Capitol from the west side doorway that leads into the

Rotunda. They remained inside the Rotunda until approximately 2:39 p.m. They took pictures

of the Rotunda and the surrounding area. The government produced to the defense evidence that

showed that Ms. Cudd and Mr. Rosa continued walking through the Statuary Hall area of the

U.S. Capitol, until 2:43 p.m., when they moved toward the House Chamber and connecting

hallways; the defense does not dispute this evidence.

        12.     While inside of the U.S. Capitol, Ms. Cudd heard loud banging and smelled tear

gas.

        13.     Ms. Cudd and Mr. Rosa departed the U.S. Capitol near the Upper House Door, at

approximately 2:54 p.m.



                                              Page 4 of 7
       14.     After departing the U.S. Capitol, on January 6, Ms. Cudd stated the following in a

video posted on social media: “I was here today on January 6th when the new revolution started

at the Capitol. . . . We were on the south lawn listening to the President and before the speech

was over we started to head up to the Capitol . . . and when Pence betrayed us is when we started

to storm the Capitol . . . we just pushed, pushed, and pushed, and yelled go and yelled charge.

We just pushed and pushed, and we got it . . . and we got in. We got up to the top of the Capitol

and there was a door open and we went inside. . . . We did break down the Nancy Pelosi’s office

door and somebody stole her gavel and took a picture sitting in the chair flipping off the camera.

. . . they had to evacuate it before we charged the Capitol. . . . Fuck yes, I am proud of my

actions, I fucking charged the Capitol today with patriots today. Hell yes I am proud of my

actions.” Despite Ms. Cudd’s statement, there is no evidence that Ms. Cudd entered Nancy

Pelosi’s office and no evidence that Ms. Cudd stole any property from the Capitol.

       15.     On January 8, 2021, Ms. Cudd stated the following: “We the patriots did storm

the U.S. Capitol. . . . So if you watch the entire video [referring to her January 6 social media

video] and you watch any of my videos you know that the way that I speak is that I always say

we. So I say we the patriots, we . . . whatever. I always say we so those things did happen by

other people but I was not a part of that. But in reference to it that umm we the patriots stormed

the Capitol and some people went into different offices and different things like that . . . . I

would do it again in a heartbeat because I did not break any laws. I went inside the Capitol

completely legally and I did not do anything to hurt anybody or to destroy any property. So yes,

I would absolutely do it again.”




                                             Page 5 of 7
       16.     When the defendant entered the U.S. Capitol Building on January 6, it was a

restricted building. The defendant knew at the time she entered the U.S. Capitol Building that

she did not have lawful authority to enter the building.



                                                     Respectfully submitted,


                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                              By:    /s/ Amanda Fretto Lingwood
                                                     Amanda Fretto Lingwood
                                                     Assistant United States Attorney




                                            Page 6 of 7
                           DEFENDANT'S ACKNOWLEDGMENT

        I, Jenny Cudd, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.




                            ATTORNEY'S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.



        10/11/2021
Date:
        --------                     Marina Medvin
                                     Attorney for Defendant




                                           Page 7 of7
